Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 1 of 22 Pageid#: 168

                                                              EXHIBIT F
                    UNITED STATES OF AMERICA
                 MERIT SYSTEMS PROTECTION BOARD
                  WASHINGTON REGIONAL OFFICE


CARRIE NICOLE THOMAS,                       DOCKET NUMBER
              Appellant,                    DC-0752-21-0311-I-2

            v.

DEPARTMENT OF THE NAVY,                     DATE: January 20, 2022
            Agency.




      Carrie Nicole Thomas, Madison Heights, Virginia, pro se.

      Javier L. Martinez and Steven Lippman, Washington Navy Yard, D.C., for
        the agency.


                                 BEFORE
                             Monique Binswanger
                             Administrative Judge


                            INITIAL DECISION

      On September 30, 2019, the agency indefinitely suspended the appellant
from her position as a Business Financial Manager, NH-0501-IV, in the agency’s
Naval Sea Systems Command (NAVSEA). See Appeal File (AF), Tab 8 at 6.
The appellant timely filed the instant appeal.   AF, Tab 1.      The Board has
jurisdiction over this appeal pursuant to 5 U.S.C. §§ 7511-7513. On December
16, 2021, I held the requested hearing. See Refiled Appeal File (RAF), Tab 17
(Hearing CD, HCD).
      For the following reasons, the agency’s action is AFFIRMED.
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 2 of 22 Pageid#: 169

                                                                                   2

                           ANALYSIS AND FINDINGS
Background
      On October 19, 2014, the appellant was appointed to the position of
Financial Management Analyst, with a working title of Business Financial
Manager, within the agency’s Naval Sea Systems Command (NAVSEA). AF,
Tab 5 at 28. Throughout the appellant’s tenure, her Position Description (PD)
has required that she maintain a security clearance with access to classified
information, Secret level, and assignment to a sensitive position. AF Tab 8 at 23.
      On May 10, 2019, John Segura, Director of Security, issued the appellant a
written notice of his intent to suspend her access to classified information and
assignment to a sensitive position, and specified therein the basis for the
proposal.   AF, Tab 8 at 33-35. Segura further notified the appellant that the
appellant’s physical access to NAVSEA facilities is temporarily suspended
pending a determination on the proposal. Id. He stated that, should NAVSEA
uphold the proposed clearance suspension, the issue would be elevated to the
Department of Defense Consolidated Adjudication Facility (DoD CAF), and that
she would remain unable to access NAVSEA facilities pending DoD CAF’s final
determination. Id. at 34. The notice informed the appellant of her opportunity to
provide a written response to the proposal. Id. at 35.
      The     appellant   was   placed   on   paid   administrative   leave   pending
determination on the proposed clearance suspension. Id. at 29-31. On May 17,
2019, the appellant submitted a written response to the proposal. AF, Tab 8 at
38-48.    Therein, the appellant disputed the substantive basis for the proposed
suspension.    Id.   On or about July 1, 2019 and July 5, 2019, the appellant
submitted to Segura an Addendum to her written response. AF, Tab 8 at 38, 49-
55.      Therein, the appellant alleged she has been subject to disability
discrimination and retaliation, and that the agency failed to accommodate her
disability. Id. She further presented additional substantive rebuttal to the stated
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 3 of 22 Pageid#: 170

                                                                                  3

bases for the proposed suspension.      Id.   The appellant further submitted 24
documents as attachments to her Addendum. AF, Tab 8 at 55.
      On July 15, 2019, John Segura, Director of Security, issued a written
decision suspending the appellant’s access to classified information. AF, Tab 16
at 18-20. Segura upheld the proposed suspension of access following his review
of the appellant’s various replies thereto. Id. He stated her response did not
mitigate NAVSEA’s concerns regarding her classified access. Id. Accordingly,
he locally suspended her clearance pending DoD CAF’s final adjudication of her
clearance eligibility. Id. He further noted that the suspension of the appellant’s
physical access to NAVSEA facilities would remain in effect pending that final
adjudication. Id.
The appellant’s indefinite suspension of employment
      On August 8, 2019, Sarah Campbell, Director of Contracts and Business
Operations Surface Ship Weapons, issued the appellant a written Notice of
Proposed Indefinite Suspension for failure to maintain a condition of
employment, her security clearance. AF, Tab 8 at 13. Campbell, the appellant’s
supervisor, stated the appellant’s position requires that she maintain access to
classified information and assignment to a sensitive position.      Id. at 14. She
stated the appellant is unable to perform the essential duties of her position given
the suspension of her access to classified information to inability to access
NAVSEA facilities. Id. Campbell further stated that the agency does not have a
policy requiring the appellant’s transfer to a position that does not require access
to classified information. Id. She stated the indefinite suspension, if sustained,
would remain in effect until further notice.     Id.   Campbell explained that the
appellant would be returned to duty if DoD CAF restores her security clearance.
She further explained that the agency would initiate a proposal to remove her
from employment if DoD CAF revokes her security clearance and she either does
not appeal that decision or the appeal is unsuccessful. Id. at 14-15.
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 4 of 22 Pageid#: 171

                                                                                  4

      Campbell identified Kirk Johnson, Deputy Program Manager of Surface
Ship Weapons, as the Deciding Official for the proposed indefinite suspension
and informed the appellant of her right to provide Johnson with an oral and/or
written response to the proposal. AF, Tab 8 at 15. She further informed the
appellant of her right to be represented by an attorney or other representative of
her choosing, and stated that a final decision on the proposal would be made no
earlier than 30 days. Id.
      On August 18, 2019, the appellant requested an extension of time until at
least August 26, 2019, to respond to the proposal. AF, Tab 17 at 21. Johnson
granted her a ten-day extension of time. Id. On August 22, 2019, the appellant
requested specifically the opportunity to present an oral reply to the proposal. Id.
at 20. Johnson granted the request and set the oral response date for August 28,
2019. Id. at 19. On August 28, 2019, the appellant presented Johnson an oral
reply to the proposed indefinite suspension. AF, Tab 8 at 12-16. Therein, she
alleged the agency failed to follow NAVSEA security policy by failing to resolve
its security concerns at the lowest level and that it did not do its due diligence.
Id. She further disputed the substantive basis for the proposed suspension and
reiterated her allegations of discrimination.     She stated she would accept a
reassignment or a downgrade instead of the proposed suspension. Id.
      On August 29, 2019, the appellant presented Johnson a written reply to the
proposed indefinite suspension. AF, Tab 17 at 24-31. Therein, the appellant
again disputed the substantive basis for her security clearance suspension and
alleged the agency failed to accommodate her disability. Id. She further alleged
the agency failed to exercise due diligence in contacting her to explain
inconsistent information she had provided. Id. at 30-31. She stated the agency
should have made the clearance determination at the local level and that it failed
to do so. Id. at 31.
      On September 30, 2019, Johnson issued a decision affirming the proposed
indefinite suspension. AF, Tab 8 at 6-10. He stated therein that he considered
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 5 of 22 Pageid#: 172

                                                                               5

the proposal notice and related materials, as well as the appellant’s written
responses prior to making his decision on the proposal. Id. He found that the
appellant could not meet the conditions of her employment due to the suspension
of her security clearance and assignment to a sensitive position.       Id.   He
determined the alternative options the appellant requested during her oral reply,
such as a reassignment or a downgrade, were not appropriate and that the agency
does not have a policy requiring such reassignments.      Id.   Accordingly, the
appellant’s indefinite suspension was effective October 1, 2019.       Id. at 7.
Pursuant to Johnson’s decision letter, the appellant was notified that the
indefinite suspension would continue until a final decision was made regarding
her access to classified information and assignment to a sensitive position. Id.
He specified that she would be returned to duty if her clearance is restored. He
further specified that, should her clearance be revoked, the agency would propose
her removal from service. Id.

The agency has met its burden of proof
      When reviewing an agency decision to suspend a security clearance and a
resulting adverse action, such as an indefinite suspension, the Board may not
inquire into the substantive merits of the clearance determination.           See
Department of Navy v. Egan, 484 U.S. 518, 529-32, (1988); Romero
v. Department of Defense, 527 F.3d 1324, 1328 (Fed. Cir. 2008), Cheney
v. Department of Justice, 479 F.3d 1343, 1349-50 (Fed. Cir. 2007). The Board’s
inquiry is limited to determining whether the agency has proven by a
preponderance of the evidence that (1) a security clearance was denied; (2) the
security clearance was a requirement of the appellant’s position; and (3) the
applicable procedural guarantees were followed. Hesse v. Department of State,
217 F.3d 1372, 1376 (Fed. Cir. 2000).
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 6 of 22 Pageid#: 173

                                                                                6

      Procedural protections include those prescribed in 5 U.S.C. § 7513 and in
agency regulations. Per 5 U.S.C. § 7513(b), an employee against whom an action
is proposed is entitled to:
          (1) at least 30 days’ advance written notice, unless there is
          reasonable cause to believe the employee has committed a crime
          for which a sentence of imprisonment may be imposed, stating the
          specific reasons for the proposed action;
          (2) a reasonable time, but not less than 7 days, to answer orally
          and in writing and to furnish affidavits and other documentary
          evidence in support of the answer;
          (3) be represented by an attorney or other representative; and
          (4) a written decision and the specific reasons therefor at the
          earliest practicable date.
I find the agency has satisfied these requirements in effecting the appellant’s
indefinite suspension. The record evidences the agency provided the appellant at
least 30 days advance written notice of the specific reasons for her proposed
indefinite suspension, the right to respond orally and in writing to the proposal,
the right to be represented, and a written decision not less than 30 days later
containing the specific reasons for his removal. AF, Tab 8 at 6-10, 13-15. The
appellant does not dispute that the agency met these statutory requirements.
      In addition to the statutory requirements discussed above, the Board may
also review whether the agency complied with its own procedures for suspending
the appellant’s clearance. Romero v. Department of Defense, 527 F.3d 1324,
1328-30 (Fed. Cir. 2008); Schnedar v. Department of the Air Force, 120 M.S.P.R.
516, ¶ 8 (2014). Segura testified that Department of the Navy policy requires
only that he notify an employee of his decision to suspend their access to
classified information.       RAF, Tab 17 (HCD). Segura further testified that
NAVSEA adds two additional steps to the process. Id. Specifically, NAVSEA
first issues the employee a notice of its intent to suspend an employee’s access
and allows the employee 10 days to respond to the notice prior to Segura issuing
a decision on whether to suspend access. Id. I find Segura’s testimony credible
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 7 of 22 Pageid#: 174

                                                                                 7

and reliable, as he is the NAVSEA Director of Security and the person
responsible for implementing these procedures.      See Hillen v. Department of the
Army, 35 M.S.P.R. 453, 458-462 (1987). Furthermore, the appellant failed to present
any evidence rebutting his credible testimony. Id. I note that the appellant had
the opportunity to testify at the requested hearing but chose not to do so. AF,
Tab 17 (HCD).
      I find the agency met its burden of proving it complied with its internal
requirements in suspending the appellant’s access to classified information.
Specifically, the documentary evidence establishes that the appellant received a
notice of Segura’s intent to suspend her access to classified information and the
reasons therefore, and afforded her the opportunity to respond thereto. AF, Tab 8
at 33 and Tab 16 at 19.     The documents of record further establish that the
appellant was thereafter provided written notice and explanation of Segura’s
decision to suspend her access. Id. Segura credibly testified that the appellant’s
entire response was considered prior to issuance of his suspension decision,
including the several untimely responses she presented in July 2019. RAF, Tab
17 (HCD). The appellant has failed to present credible evidence rebutting these
credible documents and testimony of record.
      Accordingly, I find the agency has met its burden of proving it complied
with all statutory and internal requirements in effecting the appellant’s clearance
suspension and her indefinite suspension from employment.
The appellant failed to establish the agency committed harmful error
      The Board may not sustain an adverse action decision if the employee can
show harmful procedural error in the application of the agency’s procedures in
arriving at such a decision. 5 U.S.C. § 7701(c)(2)(A). To prove harmful
procedural error, the appellant must prove by a preponderance of the evidence
that the agency committed an error in the application of its procedures that is
likely to have caused the agency to reach a conclusion different from the one it
would have reached in the absence or cure of the error. 5 C.F.R. § 1201.4(r),
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 8 of 22 Pageid#: 175

                                                                                    8

5 C.F.R. § 1201.56. The appellant made several allegations that the agency failed
to comply with its own procedures in the processing of her clearance suspension.
As set forth above, the Board may review whether the agency complied with its
own procedures for taking an adverse action, such as an indefinite suspension,
based on a security clearance suspension or revocation. Romero, 527 F.3d at
1328-30; Schnedar, 120 M.S.P.R. at 516, ¶ 8. As such, the clearance suspension
decision is subject to the harmful procedural error standard of 5 U.S.C.
§ 7701(c)(2)(A). Romero, 527 F.3d at 1328–30 (“the Board may review whether
the agency has complied with its procedures for revoking a security clearance,
even though it may not review the substance of the revocation decision.);
5 C.F.R. § 1201.56(c)(1).
      First, the appellant alleged Segura did not afford her a meaningful
opportunity to reply to the proposed clearance suspension because he did not
consider certain medical documentation she presented in her response.              As
discussed   above,   however,   Segura    testified   that   he   did   consider   the
documentation, albeit some of it was untimely presented. RAF, Tab 17 (HCD).
He explained that he had questions regarding the authenticity of the medical
documentation the appellant originally provided and therefore did not consider it.
Id. He further testified, however, that the appellant’s doctor later submitted the
documentation directly to him and that he fully considered this documentation
prior to his decision. Id.
      I find Segura’s testimony credible, as he testified with specificity regarding
the two documents and the sequence of events prior to his review. RAF, Tab 17
(HCD); see also Hillen, 35 M.S.P.R. at 458-462. His demeanor while testifying was
calm and earnest, indicating the truthfulness of his statements. Id. The appellant
pointed to Segura’s EEO statement, taken during the EEO investigation process
and dated June 25, 2020, to allege that Segura’s hearing testimony was not
credible. In that statement, Segura was asked why the complainant’s medical
documentation stated she was not a harm to herself or others was not mitigating.
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 9 of 22 Pageid#: 176

                                                                                  9

AF, Tab 7 at 111.      In response, Segura stated “The Complainant submitted
medical documentation to Security; the documentation was not submitted by
Complainant’s doctor.”    Id. at 112. However, Segura credibly testified that this
portion of his statement referred to the letter the appellant provided to him
directly. RAF, Tab 17 (HCD). He testified that the documentation the doctor
later provided directly was fully considered prior to his decision to suspend her
classified access and that the documentation was submitted to DoD CAF along
with the rest of the appellant’s file.       Id.   The appellant did not present any
evidence disputing this testimony. Accordingly, I find the agency has proven
Segura provided the appellant with a meaningful opportunity to respond to the
proposed suspension of her access to classified information in accordance with
NAVSEA policy and that Segura thoroughly considered her entire response
thereto.
      The appellant also alleged the agency failed to “work with her” at the local
level rather than suspending her classified access. The appellant’s allegations
appear to suggest that the agency should have engaged in alternative dispute
resolution or mediation regarding her classified access. However, the appellant
failed to present any policy indicating the agency was required to do so.
Furthermore, Segura testified that SECNAV M5510.30 requires that he forward to
DoD CAF all pertinent information regarding and suspension of clearance for
adjudication at the DoD CAF level. RAF, Tab 17 (HCD). He explained that he
has no authority to rescind his decision to suspend access to classified
information once that decision has been made. Id. Rather, only DoD CAF has
authority to make a determination regarding the employee’s security clearance at
that time.   Id.   The appellant provided no evidence rebutting this credible
testimony. Hillen, 35 M.S.P.R. at 458-462.
      Finally, the appellant alleges the agency violated Executive Order No.
12968, “Access to Classified Information,” Sections 5.2a.1 and a.2 in that the
agency did not follow the proper procedures set forth therein relating to the
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 10 of 22 Pageid#: 177

                                                                                  10

 suspension of her classified access. Pursuant to Executive Order No. 12968 Sec.
 5.2, Review Proceedings for Denials or Revocations of Eligibility for Access,”
        (a) Applicants and employees who are determined to not meet the
 standards for access to classified information established in section 3.1 of
 this order shall be:
        (1) provided as comprehensive and detailed a written explanation of
 the basis for that conclusion as the national security interests of the United
 States and other applicable law permit;
        (2) provided within 30 days, upon request and to the extent the
 documents would be provided if requested under the Freedom of
 Information Act (5 U.S.C. 552) or the Privacy Act (3 U.S.C. 552a), as
 applicable, any documents, records, and reports upon which a denial or
 revocation is based.
 See RAF, Tab 14 at 13.
        The appellant presented no evidence supporting her interpretation that
 these provisions are applicable to NAVSEA’s suspension of her classified access
 or that the agency violated these provisions. On the contrary, Segura credibly
 testified that the referenced provisions refer to proceedings before the DoD CAF
 for denying or revoking access to classified information. RAF, Tab 17 (HCD).
 He explained that the decision to locally suspend access to classified information
 is a different process, specific to NAVSEA, and is preliminary to DoD CAF’s
 ultimate determination as to whether the revoke the appellant’s clearance. Id. I
 find Segura’s testimony regarding this issue to be credible given his position as
 Security Director, responsible for implementing required clearance procedures,
 and his specialized knowledge of the security clearance process.         Hillen, 35
 M.S.P.R. at 458-462. I further find his explanation consistent with the language of
 the Executive Order on its face. See RAF, Tab 14 at 13. Accordingly, I find
 Segura’s testimony credible and give it substantial weight. Hillen, 35 M.S.P.R. at
 458-462.   I further find credible Segura’s testimony that, regardless, he did
 provide the appellant with a detailed, written explanation of his decision to
 suspend her classified access as required. Segura’s testimony is consistent with
 his written notice suspending the appellant’s classified access and the appellant
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 11 of 22 Pageid#: 178

                                                                                 11

 has failed to present any credible rebuttal evidence. AF, Tab 16 at 18; see also
 Hillen, 35 M.S.P.R. at 458-462.
       Accordingly, I find the appellant has failed to satisfy her burden of proving
 the agency committed harmful error with respect to any of its internal procedures
 for suspending her access to classified information.

 The sustained misconduct has a nexus, or logical connection, to the efficiency of
 the service.
       The agency must show that its action promotes the efficiency of service. In
 other words, there must be a clear and direct relationship between the articulated
 grounds for an adverse action and either the employee’s ability to accomplish his
 duties satisfactorily or some other legitimate government interest.    Valenzuela
 v. Department of the Army, 107 M.S.P.R. 549, ¶ 14 (2007). It is well settled that,
 where an adverse action is based on the failure to maintain a security clearance
 required by the job description, the action promotes the efficiency of the service
 because “the absence of a properly authorized security clearance is fatal to job
 entitlement.” Munoz v. Department of Homeland Security, 121 M.S.P.R. 483,
 ¶ 13 (2014), citing Robinson v. Department of Homeland Security, 498 F.3d 1361,
 1365 (Fed. Cir. 2007).     As the agency has proven a security clearance was a
 condition of employment for the appellant, I find that the agency has
 demonstrated a nexus between her failure to maintain a security clearance and the
 efficiency of the service. AF, Tab 8 at 23; Munoz, 121 M.S.P.R. 483 at ¶ 13.
       The Board has declined to consider the Douglas penalty factors in cases
 involving adverse actions based on security clearance revocations if an employee
 has not been provided a substantive right to reassignment through statute or
 regulation, such as in this appeal. Ryan v. Department of Homeland Security, 793
 F.3d 1368, 1373 (Fed. Cir. 2015); Munoz v. Department of Homeland Security,
 121 M.S.P.R. 483, ¶ 15 (2014). The Board has found that consideration of the
 Douglas factors would be inappropriate in such cases because, in the absence of a
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 12 of 22 Pageid#: 179

                                                                                 12

 statute or regulation requiring the agency to seek out alternative employment, the
 Board lacks the authority to review whether an employee’s reassignment to a
 position not requiring a security clearance would have been feasible. Id.; see
 also Griffin v. Defense Mapping Agency, 864 F.2d 1579, 1580–81 (Fed. Cir.1989)
 (where transfer or reassignment of an employee who is denied a security
 clearance is not mandated, “the Board has no role” in reviewing whether the
 employee should have been reassigned instead of receiving an adverse action).
       The appellant has presented no evidence of a statute or regulation requiring
 the agency to reassign her to another position pending final adjudication of her
 clearance eligibility. On the contrary, the agency has presented evidence that it
 does not have a policy requiring reassignment of an employee in the appellant’s
 situation. AF, Tab 17 at 4. As such, the correct standard to be applied is whether
 the penalty of an indefinite suspension in these circumstances exceeded “the
 tolerable limits of reasonableness.” Marshall-Carter v. Department of Veterans
 Affairs, 94 M.S.P.R.518, ¶ 14 (2003), aff’d, 122 Fed. Appx. 513 (Fed. Cir. 2005).
 I find that the suspension of the appellant’s classified access prevented her from
 performing her assigned duties because access to classified information is a
 condition of her position.     Therefore, I find the agency’s determination to
 indefinitely suspend her pending final adjudication of her clearance eligibility is
 within the tolerable bounds of reasonableness and find no basis to disturb the
 agency’s chosen penalty. Id.
 The appellant’s claims of discrimination and reprisal
       The Board generally cannot decide a claim of discrimination in an appeal
 from an action that was based on suspension or revocation of access to classified
 material because deciding the discrimination allegation would involve an inquiry
 into the merits of the security determination. See Doe v. Department of
 Justice, 118   M.S.P.R.   434, ¶   40   (2012); Helms   v.   Department    of   the
 Army, 114 M.S.P.R. 447, ¶ 9 (2010) (same); Hesse v. Department of State, 82
 M.S.P.R. 489, ¶ 9 (1999), aff’d, 217 F.3d 1372 (Fed. Cir. 2000) (same);
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 13 of 22 Pageid#: 180

                                                                                 13

 Pangarova v. Department of the Army, 42 M.S.P.R. 319, 324 (1989) (the Board
 may not review discrimination and reprisal allegations in the context of an action
 stemming from a security clearance determination because the allegations are
 “inextricably intertwined with agency’s denial of a security clearance”).
 Accordingly, the Board cannot hear allegations that the agency’s suspension of
 her security clearance of the events leading up thereto were discriminatory or
 taken in retaliation for the appellant’s prior EEO activity.
       The appellant argues the agency’s suspension of her classified access and
 its decision to indefinitely suspend her during the clearance adjudication process
 was discriminatory on the basis of her disability and prior protected EEO activity.
 In support of her claims, she alleges the agency failed to accommodate her
 requests for reasonable accommodation prior to the clearance suspension and
 otherwise discriminated against her during that time period. See generally, AF,
 Tab 1 at 5-6.    However, the appellant’s arguments attempt to delve into the
 substantive reasons for the agency’s clearance suspension and, as set forth above,
 the Board may not review those determinations. See Egan, 484 U.S. at 529-32;
 Romero, 527 F.3d at 1328; see also RAF, Tab 17 (HCD).
       Nevertheless, to the extent the appellant asserts that the agency was
 motivated by discrimination or retaliation in deciding what action to take as a
 result of her clearance suspension, I find such allegations may be distinct from
 the merits of clearance suspension itself. The Board has suggested that it may
 adjudicate claims that discrimination or retaliation motivated the agency to
 indefinitely suspend the appellant rather than take other action (or no action),
 where such allegations do not require or otherwise implicate the security
 clearance determination itself. Helms, 114 M.S.P.R. 447, n. 1 (assuming without
 deciding that the Board could adjudicate claims of discrimination as to the
 penalty for an adverse action based on clearance issues); c.f. Munoz
 v. Department of Homeland Security, 121 M.S.P.R. 483, ¶ 14 (2014) (allegation
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 14 of 22 Pageid#: 181

                                                                                   14

 of disparate penalties “without a claim of prohibited discrimination” cannot be
 adjudicated in adverse actions based on clearance issues).
       Nevertheless, the appellant failed to establish that she was subject to any
 such discrimination or reprisal. The appellant alleges Johnson could have chosen
 to reassign her to a position that does not require a security clearance rather than
 to indefinitely suspend her employment. RAF, Tab 17 (HCD). The appellant
 acknowledges the agency’s written policy that it does not require management to
 reassign employees upon suspension or revocation of a security clearance. Id.
 However, the appellant alleges Johnson was not prohibited from doing so, and
 therefore made a conscious choice to indefinitely suspend her instead. Id.
       The appellant failed to present any evidence that Johnson was motivated by
 her disability or prior protected activity in deciding to indefinitely suspend her.
 In particular, the appellant did not present any evidence that Johnson has
 reassigned other similarly situated employees with suspended security clearances,
 or that similarly situated employees without disabilities or prior EEO activity
 were otherwise treated more favorably than she.          On the contrary, Johnson
 credibly testified that indefinite suspension was the appropriate action given her
 clearance suspension and that a reassignment was not a viable option. RAF, Tab
 17 (HCD).     Norman Ellis, the Employee Relations Specialist who assisted
 management with the appellant’s indefinite suspension, credibly corroborated that
 no employee who has had their clearance suspended has received a reassignment
 as an alternative. RAF, Tab 17 (HCD). Rather, he credibly testified that all such
 employees are indefinitely suspended from employment in these circumstances.
 Id.   The appellant has failed to present any evidence rebutting this credible
 testimony.   Hillen, 35 M.S.P.R. at 458-462.     Nor has she presented any other
 credible evidence indicating the agency was motivated by her disability or prior
 protected activity in effecting her indefinite suspension.         Accordingly, the
 appellant failed to establish her affirmative defense of discrimination or reprisal.
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 15 of 22 Pageid#: 182

                                                                                  15

                                     DECISION
       The appeal is DISMISSED.



 FOR THE BOARD:                                   /S/
                                        Monique Binswanger
                                        Administrative Judge

                            NOTICE TO APPELLANT
       This initial decision will become final on February 24, 2022, unless a
 petition for review is filed by that date. This is an important date because it is
 usually the last day on which you can file a petition for review with the Board.
 However, if you prove that you received this initial decision more than 5 days
 after the date of issuance, you may file a petition for review within 30 days after
 the date you actually receive the initial decision. If you are represented, the 30-
 day period begins to run upon either your receipt of the initial decision or its
 receipt by your representative, whichever comes first. You must establish the
 date on which you or your representative received it. The date on which the initial
 decision becomes final also controls when you can file a petition for review with
 one of the authorities discussed in the “Notice of Appeal Rights” section, below.
 The paragraphs that follow tell you how and when to file with the Board or one of
 those authorities. These instructions are important because if you wish to file a
 petition, you must file it within the proper time period.

                                 BOARD REVIEW
       You may request Board review of this initial decision by filing a petition
 for review.
       If the other party has already filed a timely petition for review, you may
 file a cross petition for review. Your petition or cross petition for review must
 state your objections to the initial decision, supported by references to applicable
 laws, regulations, and the record. You must file it with:
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 16 of 22 Pageid#: 183

                                                                                  16

                              The Clerk of the Board
                          Merit Systems Protection Board
                                1615 M Street, NW.
                             Washington, DC 20419

 A petition or cross petition for review may be filed by mail, facsimile (fax),
 personal or commercial delivery, or electronic filing. A petition submitted by
 electronic filing must comply with the requirements of 5 C.F.R. § 1201.14, and
 may     only    be    accomplished     at    the    Board's    e-Appeal     website
 (https://e-appeal.mspb.gov).

                        NOTICE OF LACK OF QUORUM
       The Merit Systems Protection Board ordinarily is composed of three
 members, 5 U.S.C. § 1201, but currently there are no members in place. Because a
 majority vote of the Board is required to decide a case, see 5 C.F.R. § 1200.3(a),
 (e), the Board is unable to issue decisions on petitions for review filed with it at
 this time. See 5 U.S.C. § 1203. Thus, while parties may continue to file petitions
 for review during this period, no decisions will be issued until at least two
 members are appointed by the President and confirmed by the Senate. The lack of
 a quorum does not serve to extend the time limit for filing a petition or cross
 petition. Any party who files such a petition must comply with the time limits
 specified herein.
       For alternative review options, please consult the section below titled
 “Notice of Appeal Rights,” which sets forth other review options.

          Criteria for Granting a Petition or Cross Petition for Review

       Pursuant to 5 C.F.R. § 1201.115, the Board normally will consider only
 issues raised in a timely filed petition or cross petition for review. Situations in
 which the Board may grant a petition or cross petition for review include, but are
 not limited to, a showing that:
       (a) The initial decision contains erroneous findings of material fact. (1)
 Any alleged factual error must be material, meaning of sufficient weight to
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 17 of 22 Pageid#: 184

                                                                                   17

 warrant an outcome different from that of the initial decision. (2) A petitioner
 who alleges that the judge made erroneous findings of material fact must explain
 why the challenged factual determination is incorrect and identify specific
 evidence in the record that demonstrates the error. In reviewing a claim of an
 erroneous finding of fact, the Board will give deference to an administrative
 judge’s credibility determinations when they are based, explicitly or implicitly,
 on the observation of the demeanor of witnesses testifying at a hearing.
       (b) The initial decision is based on an erroneous interpretation of statute or
 regulation or the erroneous application of the law to the facts of the case. The
 petitioner must explain how the error affected the outcome of the case.
       (c) The judge’s rulings during either the course of the appeal or the initial
 decision were not consistent with required procedures or involved an abuse of
 discretion, and the resulting error affected the outcome of the case.
       (d) New and material evidence or legal argument is available that, despite
 the petitioner’s due diligence, was not available when the record closed. To
 constitute new evidence, the information contained in the documents, not just the
 documents themselves, must have been unavailable despite due diligence when
 the record closed.
       As stated in 5 C.F.R. § 1201.114(h), a petition for review, a cross petition
 for review, or a response to a petition for review, whether computer generated,
 typed, or handwritten, is limited to 30 pages or 7500 words, whichever is less. A
 reply to a response to a petition for review is limited to 15 pages or 3750 words,
 whichever is less. Computer generated and typed pleadings must use no less than
 12 point typeface and 1-inch margins and must be double spaced and only use one
 side of a page. The length limitation is exclusive of any table of contents, table of
 authorities, attachments, and certificate of service. A request for leave to file a
 pleading that exceeds the limitations prescribed in this paragraph must be
 received by the Clerk of the Board at least 3 days before the filing deadline. Such
 requests must give the reasons for a waiver as well as the desired length of the
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 18 of 22 Pageid#: 185

                                                                                  18

 pleading and are granted only in exceptional circumstances. The page and word
 limits set forth above are maximum limits. Parties are not expected or required to
 submit pleadings of the maximum length. Typically, a well-written petition for
 review is between 5 and 10 pages long.
       If you file a petition or cross petition for review, the Board will obtain the
 record in your case from the administrative judge and you should not submit
 anything to the Board that is already part of the record. A petition for review
 must be filed with the Clerk of the Board no later than the date this initial
 decision becomes final, or if this initial decision is received by you or your
 representative more than 5 days after the date of issuance, 30 days after the date
 you or your representative actually received the initial decision, whichever was
 first. If you claim that you and your representative both received this decision
 more than 5 days after its issuance, you have the burden to prove to the Board the
 earlier date of receipt. You must also show that any delay in receiving the initial
 decision was not due to the deliberate evasion of receipt. You may meet your
 burden by filing evidence and argument, sworn or under penalty of perjury (see 5
 C.F.R. Part 1201, Appendix 4) to support your claim. The date of filing by mail
 is determined by the postmark date. The date of filing by fax or by electronic
 filing is the date of submission. The date of filing by personal delivery is the
 date on which the Board receives the document. The date of filing by commercial
 delivery is the date the document was delivered to the commercial delivery
 service. Your petition may be rejected and returned to you if you fail to provide
 a statement of how you served your petition on the other party. See 5 C.F.R.
 § 1201.4(j). If the petition is filed electronically, the online process itself will
 serve the petition on other e-filers. See 5 C.F.R. § 1201.14(j)(1).
       A cross petition for review must be filed within 25 days after the date of
 service of the petition for review.
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 19 of 22 Pageid#: 186

                                                                                  19

                     NOTICE TO AGENCY/INTERVENOR
       The agency or intervenor may file a petition for review of this initial
 decision in accordance with the Board's regulations.

                         NOTICE OF APPEAL RIGHTS
       You may obtain review of this initial decision only after it becomes final,
 as explained in the “Notice to Appellant” section above. 5 U.S.C. § 7703(a)(1).
 By statute, the nature of your claims determines the time limit for seeking such
 review and the appropriate forum with which to file.           5 U.S.C. § 7703(b).
 Although we offer the following summary of available appeal rights, the Merit
 Systems Protection Board does not provide legal advice on which option is most
 appropriate for your situation and the rights described below do not represent a
 statement of how courts will rule regarding which cases fall within their
 jurisdiction. If you wish to seek review of this decision when it becomes final,
 you should immediately review the law applicable to your claims and carefully
 follow all filing time limits and requirements.        Failure to file within the
 applicable time limit may result in the dismissal of your case by your
 chosen forum.
       Please read carefully each of the three main possible choices of review
 below to decide which one applies to your particular case. If you have questions
 about whether a particular forum is the appropriate one to review your case, you
 should contact that forum for more information.

       (1) Judicial review in general. As a general rule, an appellant seeking
 judicial review of a final Board order must file a petition for review with the U.S.
 Court of Appeals for the Federal Circuit, which must be received by the court
 within 60 calendar days of the date this decision becomes final.           5 U.S.C.
 § 7703(b)(1)(A).
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 20 of 22 Pageid#: 187

                                                                                       20

       If you submit a petition for review to the U.S. Court of Appeals for the
 Federal   Circuit,   you   must   submit   your   petition    to   the   court   at   the
 following address:
                               U.S. Court of Appeals
                               for the Federal Circuit
                              717 Madison Place, N.W.
                              Washington, D.C. 20439

       Additional information about the U.S. Court of Appeals for the Federal
 Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
 relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
 contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
       If you are interested in securing pro bono representation for an appeal to
 the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
 http://www.mspb.gov/probono for information regarding pro bono representation
 for Merit Systems Protection Board appellants before the Federal Circuit. The
 Board neither endorses the services provided by any attorney nor warrants that
 any attorney will accept representation in a given case.

       (2) Judicial   or    EEOC    review    of   cases      involving   a   claim    of
 discrimination. This option applies to you only if you have claimed that you
 were affected by an action that is appealable to the Board and that such action
 was based, in whole or in part, on unlawful discrimination. If so, you may obtain
 judicial review of this decision—including a disposition of your discrimination
 claims—by filing a civil action with an appropriate U.S. district court (not the
 U.S. Court of Appeals for the Federal Circuit), within 30 calendar days after this
 decision becomes final under the rules set out in the Notice to Appellant section,
 above.    5 U.S.C. § 7703(b)(2); see Perry v. Merit Systems Protection Board,
 582 U.S. ____ , 137 S. Ct. 1975 (2017). If the action involves a claim of
 discrimination based on race, color, religion, sex, national origin, or a disabling
 condition, you may be entitled to representation by a court-appointed lawyer and
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 21 of 22 Pageid#: 188

                                                                                 21

 to waiver of any requirement of prepayment of fees, costs, or other security. See
 42 U.S.C. § 2000e-5(f) and 29 U.S.C. § 794a.
       Contact information for U.S. district courts can be found at their respective
 websites, which can be accessed through the link below:
       http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx.
       Alternatively, you may request review by the Equal Employment
 Opportunity Commission (EEOC) of your discrimination claims only, excluding
 all other issues. 5 U.S.C. § 7702(b)(1). You must file any such request with the
 EEOC’s Office of Federal Operations within 30 calendar days after this decision
 becomes final as explained above. 5 U.S.C. § 7702(b)(1).
       If you submit a request for review to the EEOC by regular U.S. mail, the
 address of the EEOC is:
                             Office of Federal Operations
                      Equal Employment Opportunity Commission
                                   P.O. Box 77960
                              Washington, D.C. 20013

       If you submit a request for review to the EEOC via commercial delivery or
 by a method requiring a signature, it must be addressed to:
                             Office of Federal Operations
                      Equal Employment Opportunity Commission
                                  131 M Street, N.E.
                                    Suite 5SW12G
                              Washington, D.C. 20507

       (3) Judicial     review   pursuant   to   the   Whistleblower    Protection
 Enhancement Act of 2012. This option applies to you only if you have raised
 claims of reprisal for whistleblowing disclosures under 5 U.S.C. § 2302(b)(8) or
 other protected activities listed in 5 U.S.C. § 2302(b)(9)(A)(i), (B), (C), or (D).
 If so, and your judicial petition for review “raises no challenge to the Board's
 disposition of allegations of a prohibited personnel practice described in section
 2302(b) other than practices described in section 2302(b)(8) or 2302(b)(9)(A)(i),
 (B), (C), or (D),” then you may file a petition for judicial review with the U.S.
Case 6:23-cv-00034-NKM Document 19-6 Filed 12/18/23 Page 22 of 22 Pageid#: 189

                                                                                 22

 Court of Appeals for the Federal Circuit or any court of appeals of competent
 jurisdiction. The court of appeals must receive your petition for review within
 60 days of the date this decision becomes final under the rules set out in the
 Notice to Appellant section, above. 5 U.S.C. § 7703(b)(1)(B).
       If you submit a petition for judicial review to the U.S. Court of Appeals for
 the Federal Circuit, you must submit your petition to the court at the
 following address:
                              U.S. Court of Appeals
                              for the Federal Circuit
                             717 Madison Place, N.W.
                             Washington, D.C. 20439

       Additional information about the U.S. Court of Appeals for the Federal
 Circuit is available at the court’s website, www.cafc.uscourts.gov. Of particular
 relevance is the court’s “Guide for Pro Se Petitioners and Appellants,” which is
 contained within the court’s Rules of Practice, and Forms 5, 6, 10, and 11.
       If you are interested in securing pro bono representation for an appeal to
 the U.S. Court of Appeals for the Federal Circuit, you may visit our website at
 http://www.mspb.gov/probono for information regarding pro bono representation
 for Merit Systems Protection Board appellants before the Federal Circuit. The
 Board neither endorses the services provided by any attorney nor warrants that
 any attorney will accept representation in a given case.
       Contact information for the courts of appeals can be found at their
 respective websites, which can be accessed through the link below:
       http://www.uscourts.gov/Court_Locator/CourtWebsites.aspx
